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                               UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

   CHARLES CORSO,

                                 Plaintiff,

   -vs-                                                   Case No. 6:10-cv-1173-Orl-31DAB

   SCHERING CORPORATION, MERCK
   SHARP & DOHME CORP., and MERCK
   & CO.,
                           Defendants.
   ________________ ____________________

                                               ORDER

            This cause comes before the Court on the Motion for Summary Judgment (Doc. No. 36),

   filed by Defendants on February 22, 2011.

            On March 31, 2011, the United States Magistrate Judge issued a report (Doc. No. 57)

   recommending that the motion be denied without prejudice as moot and that Plaintiff’s claims

   against Defendants be dismissed without prejudice. No objections have been filed. Therefore, it is

   ORDERED as follows:

            1.     The Report and Recommendation is CONFIRMED and ADOPTED as part of this

   Order.

            2.     The claims of Plaintiff Charles Corso and Opt-in Plaintiffs Michael L. Wilkinson

   and Leslie Bagli against Defendants are DISMISSED without prejudice.

            3.     The Motion for Summary Judgment is DENIED without prejudice as moot.
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          4.     The response to the motion to withdraw (Doc. No. 45) is hereby STRICKEN.

          5.     The Clerk is directed to close the case.

          DONE and ORDERED in Chambers, Orlando, Florida on this 18th day of April, 2011.




   Copies furnished to:

   United States Magistrate Judge
   Counsel of Record
   Unrepresented Party




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